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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES – GENERAL
    No.            2:24-cv-06535-ODW (RAO)                                 Date     November 14, 2024
    Title          United States of America v. Bytedance Ltd. et al.


 Present: The Honorable          Otis D. Wright II, United States District Judge
                Sheila English                             Not reported                           N/A
                Deputy Clerk                       Court Reporter / Recorder                    Tape No.
          Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                     Not present                                           Not present
 Proceedings (In Chambers):                   In Chambers

    The parties are ORDERED to SHOW CAUSE, in writing only, by no later than
November 21, 2024, why the following cases should not be consolidated:

     2:24-cv-07922-ODW (RAOx), Jody Villanueva et al. v. Bytedance Inc. et al.;
     2:24-cv-06784-ODW (RAOx), A.A. et al. v. Bytedance Inc. et al.; and
     2:24-cv-06535-ODW (RAOx), United States of America v. Bytedance Ltd. et al.

      No hearing will be held. The Court will accept a stipulation to consolidate as an
appropriate response and will otherwise discharge this order upon receipt of the parties’
responses. The failure to timely respond may result without further notice in dismissal, sua
sponte consolidation, or sanctions.

         IT IS SO ORDERED.
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                                                   Initials of Preparer   SE




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